                Case 2:17-cv-01628-RFB-EJY Document 110 Filed 11/16/21 Page 1 of 3


1    AARON D. FORD
      Attorney General
2    DAWN R. JENSEN (Bar No. 10933)
      Deputy Attorney General
3    State of Nevada
     Office of the Attorney General
4    555 E. Washington Ave., Ste. 3900
     Las Vegas, Nevada 89101
5    (702) 486-3195 (phone)
     (702) 486-3773 (fax)
6    Email: drjensen@ag.nv.gov

7    Attorneys for Defendants
     Scherrie Bean, Paul Bitar,
8    Alberto Buencamino, James Dzurenda,
     Jerry Howell, Jennifer Nash, and
9    Brian Williams

10

11                                   UNITED STATES DISTRICT COURT

12                                       DISTRICT OF NEVADA

13     SHANNON CARTER,                                       Case No. 2:17-cv-01628-RFB-EJY

14                      Plaintiff,

15         v.
                                                       NOTICE OF CHANGE OF DEPUTY
16     S. BEAN, BITAR, and J. NASH, et al.,                ATTORNEY GENERAL

17                      Defendants.

18

19              Defendants, Scherrie Bean, Paul Bitar, Alberto Buencamino, James Dzurenda, Jerry

20   Howell, Jennifer Nash, and Brian Williams, by and through counsel, Aaron D. Ford,

21   Attorney General for the State of Nevada, and Dawn R. Jensen, Deputy Attorney General,

22   hereby notify the Court and respective parties that Deputy Attorney General Dawn R.

23   Jensen has assumed responsibility for representing the interests of the Defendants in this

24   ///

25   ///

26   ///

27   ///

28   ///



30                                             Page 1 of 3
31
          Case 2:17-cv-01628-RFB-EJY Document 110 Filed 11/16/21 Page 2 of 3


1    action. Deputy Attorney General Amy A. Porray is no longer associated with this case and
2    should no longer be noticed through the Court’s CM/ECF system.
3          DATED this 16th day of November, 2021.
4                                                AARON D. FORD
                                                 Attorney General
5
                                                 By: /s/ Dawn R. Jensen
6                                                DAWN R. JENSEN (Bar No. 10933)
                                                 Deputy Attorney General
7
                                                 Attorneys for Defendants
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28



30                                         Page 2 of 3
31
          Case 2:17-cv-01628-RFB-EJY Document 110 Filed 11/16/21 Page 3 of 3


1                                  CERTIFICATE OF SERVICE
2          I certify that I am an employee of the State of Nevada, Office of the Attorney General,
3    and that on November 16, 2021, I electronically filed the foregoing NOTICE OF CHANGE
4    OF DEPUTY ATTORNEY GENERAL via this Court’s electronic filing system. Parties
5    who are registered with this Court’s electronic filing system will be served electronically.
6          LUKE A. BUSBY, ESQ
           316 California Ave.
7          Reno, Nevada 89509
           luke@lukeandrewbusbyltd.com
8          Attorney for Plaintiff
9

10                                           /s/ Carol A. Knight
                                             CAROL A. KNIGHT, an employee of the
11                                           Office of the Nevada Attorney General
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28



30                                            Page 3 of 3
31
